              IN THE SUPREME COURT OF NORTH CAROLINA

                                 2021-NCSC-149

                                   No. 521A20

                              Filed 17 December 2021

IN THE MATTER OF: C.B.C.B.


      Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from orders entered on 26 May

2020 and 7 October 2020 by Judge Burford A. Cherry in District Court, Catawba

County. On 27 January 2021, this Court allowed respondent’s petition requesting

expedited review of the 23 March 2020 and 5 November 2020 trial court orders that

were pending review in the Court of Appeals and related to an underlying neglect

proceeding. Additionally, this Court on its own motion consolidated the underlying

neglect proceeding with the termination proceeding on direct appeal to this Court.

Heard in the Supreme Court on 8 November 2021.


      Lauren Vaughan for petitioner-appellee Catawba County Department of Social
      Services.

      Matthew D. Wunsche, GAL Appellate Counsel, for petitioner-appellee Guardian
      ad Litem.

      Robert W. Ewing for respondent-appellant mother.


      NEWBY, Chief Justice.
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¶1          In this case we determine whether the trial court properly terminated

     respondent-mother’s parental rights to C.B.C.B. (Charlie)1 based upon N.C.G.S.

     § 7B-1111(a)(8) and thereafter ceased reunification with respondent. Because clear,

     cogent, and convincing evidence supports the trial court’s termination order based on

     respondent’s aiding and abetting second-degree murder, and because the trial court

     properly ceased reunification efforts in the underlying neglect action, the trial court’s

     orders are affirmed.

¶2          On 15 August 2019, respondent gave birth to Charlie. DSS then received a

     report about Charlie based upon respondent’s criminal record and her prior history

     with DSS involving her two older children, John and Kate. On 3 May 2013, John died

     after suffering severe abuse and neglect while in the care of respondent and her

     then-boyfriend, William Howard Lail. That same day, the Catawba County

     Department of Social Services (DSS) obtained nonsecure custody of Kate based upon

     respondent and Lail’s neglect and abuse of Kate. On 1 October 2013, Kate was

     adjudicated an abused and neglected child based upon the following facts:

                   20. During the five or six months prior to May 3, 2013,
                   [respondent] and William Lail repeatedly left the minor
                   children [Kate] and [John] at home alone for hours at a
                   time, leaving no one in the home to care for the children.
                   On at least one of these occasions, they left the children
                   asleep in their beds. On multiple other occasions, they left
                   both children strapped in their car seats, at times in a

            1 Pseudonyms are used in this opinion to protect all juveniles’ identities and for ease

     of reading.
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closet, with no one to attend them for hours at a time.
Later, when [Kate] learned how to free herself from her car
seat, she was placed in a small closet with no light, where
she was left for hours at a time. Mr. Lail and [respondent]
would push a heavy object, such as a box of ammunition or
a cupboard, in front of the door to prevent her from
escaping, and would continue to leave [John] strapped in
his car seat. On more than one occasion when Mr. Lail and
[respondent] left the children at home alone, they went to
a bar. On other occasions, the children were left alone for
up to several hours when Mr. Lail’s and [respondent’s]
work schedules overlapped.

21. In February or March, Mr. Lail was fired from his job.
He did not work again after that. During this time,
[respondent] left the children with Mr. Lail.

....

24. Approximately seven to ten days prior to May 3, 2013,
both [Kate] and [John] suffered extensive scalding injuries
while in the sole care of William Lail. [Respondent] was at
work when the injuries occurred. Although details of his
explanations have changed, Mr. Lail has reported that he
left the minor children in a bathtub for approximately four
minutes with either the tub faucet or the shower head
running while he took trash cans to the curb. He reported
that while he was gone, the minor child [Kate] must have
turned on the hot water, and he returned to find [Kate]
standing outside the tub and [John] in the tub crying. The
location and patterns of the burn injuries to these children
is not consistent with the accidental explanation provided
by Mr. Lail and are more consistent with intentional
injury.

25. Despite the severe and extensive burns to the minor
children, neither [respondent] nor William Lail sought or
obtained any medical care for the minor children from the
time the burns occurred through May 3, 2013. They
attempted to use over-the-counter items to care for the
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burns. The failure to obtain appropriate medical care for
the children was a deliberate attempt to keep anyone from
seeing the extensive injuries to the children and reporting
them to the Department of Social Services.

26. During the time between the infliction of the scalding
injuries to the children and May 3, 2013, Mr. Lail and
[respondent] ensured that no one else saw the minor
children. [Respondent] sent a text message to her parents
to cancel a visit they had planned with the minor children.
[Respondent] deliberately tried to keep her parents from
seeing the children, so they would not make a report to the
Department of Social Services.

27. During the seven to ten days after the children were
scalded and before the death of [John] on May 3, 2013,
[John’s] behavior changed markedly. Although [John] had
been an active and mobile child, he moved very little after
being burned. He ate very little solid food during this
period. Mr. Lail described that he basically would just lay
[sic] there and “eat, sleep, and poop.” Because diapers
would irritate the extensive burns to [John’s] buttocks, on
multiple nights he was placed in a bathtub with a pillow,
with no diaper or clothing, and no blanket, to sleep at night,
so that he could urinate and defecate there in the tub.

28. On the morning of May 3, 2013, the day that the minor
child [John] died, William Lail and [respondent] took the
minor child [Kate] with them to McLeod Center to obtain
methadone for Mr. Lail, to Bojangle’s and to the grocery
store for chocolate milk. The minor child [John] was left
alone at home, where he lay on the love seat and moved
very little. When they returned to the home between 8:00
and 9:00 a.m., Mr. Lail and/or [respondent] placed a biscuit
next to [John] on the love seat, but he did not eat.

29. Later on the morning of May 3, 2013, around 10:10
a.m., William Lail and [respondent] left both [Kate] and
[John] at home alone while Mr. Lail drove [respondent] to
work. [Kate] was placed in a small closet with no light, and
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a heavy box of ammunition was pushed in front of the door
so that she could not get out. [John] was left lying on the
love seat. [Respondent] has admitted, and the Court finds,
that she was not concerned about leaving her nineteen
month old child unattended and unrestrained because he
could barely move in the aftermath of the burns he
sustained seven to ten days earlier.

30. Still later on May 3, 2013, the same day [John] had been
left at home alone twice and [Kate] had been left in the
close[t] once, the Department received a third Child
Protective Services report involving the minor child [Kate]
on May 3, 2013 after EMS was called to the home of
[respondent] and William Lail at 629 25th St. NW, Hickory,
North Carolina and found the minor child [John], age
nineteen months, had passed away. Law enforcement from
Longview Police Department and the State Bureau of
Investigation also responded to the home.

31. Mr. Lail’s account of the events which occurred after he
took [respondent] to work on May 3, 2013 and which led to
the death of [John] changed over the course of several
interviews. He was the sole caretaker for both of the minor
children when the minor child [John] died. [Respondent]
was at work when [John] died.

32. When law enforcement responded to the home on May
3, 2013, the body of [John] was at the home of a neighbor,
where William Lail had gone for help and to call 9-1-1. The
body of [John] had obvious injuries which included but
were not limited to apparent burns and scabs to his
forehead, back and buttocks and bruising to his forehead.

....

35. An autopsy of [John] was conducted on May 4 and 6,
2013 by Dr. Jerri McLemore of North Carolina Baptist
Hospital/Wake Forest University School of Medicine. The
presumed cause of death for the minor child was
determined to be drowning with significant contributory
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factor of burns and blunt force injuries.

36. At the time of autopsy, [John] had large areas of
scalding injuries to his forehead, predominantly to the
front of the head, and extending to the back of the head as
well as to the side of the head. The burns to the head were
determined to be partial thickness burns, also known as
second degree burns, and were in various stages of healing.
Testing to the burns indicated that they were at least a
couple of days old and could be approximately one week old.

37. In addition to the scalding injuries, a number of other
injuries, including blunt force injuries, were found about
the head of [John]. There were a number of bruises to
[John’s] head which were located in at least three different
planes, indicating separate impacts to the child. These
included a large dark bruise across the child’s forehead as
well as a patterned bruising and abrasion injury across the
top of the child’s head. A patterned injury is one which
appears to have been inflicted by impact with a particular
object. The patterned injury to the top and side of this
child’s head consisted of two parallel linear patterned
combinations of bruises and abrasions which would be
consistent with a belt.

38. Other injuries to the head and neck of the minor child
[John], as documented during his autopsy, include but are
not limited to bruising to the inside corner of his left eye
and along the inside of his nose, bruising across the bridge
of the child’s nose, and a cut to the child’s left eyelid. The
locations of these specific bruises, as well as those to the
top of the child’s head are not consistent with typical
accidental injuries to children of this age. There were
additional bruises and injuries to the child’s face, including
but not limited to bruising to the outside of his left cheek,
bruising to his right cheek, bruising near the left side of his
mouth, and a scraping injury to the lip. The injuries to the
child’s face were in different planes, suggesting multiple
impacts.
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....

47. The numerous bruises, abrasions, and scars, as well as
the healing rib fracture are indicative of nonaccidental
inflicted injury to this child, which occurred on multiple
occasions. Many of the bruises, abrasions and scars would
have been evident to his mother and caretaker for at least
24 hours prior to the child’s death, with many of the
injuries likely evident for longer.

....

57. [Respondent] admitted that she has seen William Lail
become increasingly aggressive over the last several
months prior to [John’s] death. She stated that she was
afraid of Mr. Lail, wanted to leave him, and had spoken to
friends about leaving him, but did not act on that. She has
admitted that she has seen him hit the minor children with
a double-looped belt, and specifically [Kate] on at least two
occasions, and had seen him hit both children on their
buttocks with an open hand. She has also admitted that
she often came home from work to find bruises on her
children for which Mr. Lail would offer excuses. Specifically
on the morning of May 3, 2013, she saw unexplained linear
bruising to [John’s] back. Despite those injuries, she
continued to leave her children in his care.

58. Despite the extensive scalding injuries to both children,
received while in the sole care of William Lail, [respondent]
continued to leave the minor children in his care while she
worked.

59. [Respondent] has admitted that she saw the linear
marks on [John’s] back before she left him in William Lail’s
care on May 3, 2013.

60. Mr. Lail has stated that he took his lead on how to treat
the minor children from the way that [respondent] treated
the children. He asserts that [respondent] was very
impatient with the children, would become angry and
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                  scream at them and that she would place her hand over
                  their mouths to stop them from crying. He has reported
                  that [respondent] whipped the children with a belt, a coat
                  hanger, a piece broken off of a mini blind and a wooden
                  spoon.

                  ....

                  62. The Court specifically finds that both of the minor
                  children have been struck on multiple occasions by Mr. Lail
                  and/or [respondent] with objects including but not limited
                  to a belt and a coat hanger.

                  63. The Court specifically finds that both of the minor
                  children sustained inflicted bruising injuries after they
                  received the scalding injuries outlined above.

                  ....

                  65. [Respondent] had opportunities to seek assistance and
                  protection for herself and her children from Mr. Lail, if she
                  was in fact in fear of him. She had experience with
                  obtaining domestic violence protective orders and the
                  services available to victims of domestic violence. She left
                  the home regularly to go to work and had access to a phone
                  to seek assistance from friends and family. Still, despite
                  obvious severe injuries to her children, she took no
                  measures to protect them and instead took active steps to
                  conceal them and prevent them from being seen by those
                  who might offer some measure of protection.

¶3         In July of 2013, respondent completed a psychological evaluation and was

     diagnosed with “Personality Disorder [Not Otherwise Specified] with Dependent

     features.” Almost four years later, on 5 May 2017, respondent was convicted of one

     count of intentional child abuse inflicting serious physical injury and four counts of

     negligent child abuse inflicting serious physical injury, all stemming from John’s
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     death and Kate’s injuries. Respondent was released from prison in August of 2017.

     On 14 November 2017, William Lail was convicted of second-degree murder for John’s

     death.

¶4            On 1 October 2019, DSS filed a petition alleging Charlie to be a neglected

     juvenile. Shortly thereafter, on 4 November 2019, the Guardian ad Litem (GAL) filed

     a petition to terminate respondent’s parental rights to Charlie based upon N.C.G.S.

     § 7B-1111(a)(8). On 13 February 2020, the trial court entered an order consolidating

     the underlying neglect hearing filed by DSS with the termination of parental rights

     hearing filed by the GAL.

¶5            On 23 March 2020, the trial court entered an order of adjudication in which

     the court concluded that Charlie was a neglected juvenile. On 26 May 2020, the trial

     court entered an adjudication order on the motion for termination of parental rights,

     in which it found that:

                    8. Since [Charlie’s] birth, during conversations with social
                    workers and even during her testimony before this court,
                    [respondent] has repeatedly minimized and excused her
                    responsibility for the abuse and neglect suffered by her
                    children [John] and [Kate]. When asked about her
                    responsibility for the abuse and neglect, [respondent]
                    focuses on herself as a victim of abuse and violence by Mr.
                    Lail and tends to downplay or deny her own responsibility.

                    9. The Court has considered the severity of the abuse and
                    neglect suffered by [Kate] and [John] which ultimately
                    resulted in the death of [John], as well as the statements
                    and testimony of the Respondent mother regarding her
                    responsibility, or lack thereof, for the abuse and neglect of
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her children. The Court has also considered the extensive
and obvious nature of the injuries sustained by [John] prior
to his death which were observable by the Respondent
mother for a period of time during which she could have
taken steps to protect her very young children. The Court
finds that the Respondent mother had an affirmative duty
to protect her very young minor children, particularly
[John] whose injuries were more severe and which
contributed to his death. The Court finds that the
Respondent mother had an affirmative duty to take all
steps reasonably possible to protect her minor children,
and specifically [John], from an attack by William Lail and
from the dangerous environment in which they were living
with Mr. Lail.

10. [Respondent] intentionally failed to take [John] for
medical care following his scalding burns, and such failure
was a deliberate attempt on her part to hide [John’s]
injuries from professionals (DSS, doctors, etc.) who could
have offered him help.

11. In the days prior to the death of [John], [respondent]
sent text messages to her parents cancelling their planned
visit with the children, in an effort to hide the children’s
injuries from them.

12. [Respondent] continued to leave her children in the sole
care of William Lail, including on the day of [John’s] death,
even after observing their scalding injuries, patterned
bruising on their bodies, and Lail’s increasing aggression.

13. The Court finds that the Respondent mother, though
not present in the home when [John] was killed, knew or
should have known of the extreme risk posed by Mr. Lail
and took no steps to prevent the injury of both children,
[Kate] and [John]; and the death of [John]. The Court finds
that the actions, omissions and decisions of the Respondent
mother created the opportunity for Mr. Lail to commit the
murder of [John] and were tantamount to consent to the
conduct of Mr. Lail which resulted in the death of [John],
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                   for which he was convicted of Second Degree Murder.

¶6          Thus, the trial court concluded that respondent had “aided, abetted,

     attempted, conspired or solicited to commit murder or voluntary manslaughter of

     another child of [respondent]: to-wit [John].” As such, the trial court determined that

     grounds existed to terminate respondent’s parental rights to Charlie pursuant to

     N.C.G.S. § 7B-1111(a)(8). In a separate disposition order entered on 7 October 2020,

     the trial court concluded that terminating respondent’s parental rights was in

     Charlie’s best interests.

¶7          Thereafter, on 5 November 2020, the trial court entered a separate disposition

     order ceasing reunification with respondent in light of the court’s previous order

     terminating her parental rights. Respondent appeals.2

¶8          A termination of parental rights proceeding consists of an adjudicatory stage

     and a dispositional stage. N.C.G.S. §§ 7B-1109, -1110 (2019); In re Montgomery, 311

     N.C. 101, 110, 316 S.E.2d 246, 252 (1984). At the adjudicatory stage, the petitioner

     bears the burden of proving by “clear, cogent, and convincing evidence” the existence



            2 Respondent appealed to the North Carolina Court of Appeals the 23 March 2020 and

     5 November 2020 orders of adjudication and disposition in the underlying neglect proceeding.
     Additionally, respondent appealed to the Supreme Court the 26 May 2020 and 7 October 2020
     orders in the termination of parental rights proceeding. Because the two actions involve the
     same facts, respondent filed a petition for discretionary review with this Court, requesting
     that the appeal of the underlying neglect case bypass the Court of Appeals. On 27 January
     2021, this Court allowed respondent’s petition and, on its own motion, consolidated the
     underlying neglect proceeding and termination proceeding. Therefore, both matters are
     before this Court.
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       of one or more grounds for termination under section 7B-1111(a) of our General

       Statutes. N.C.G.S. § 7B-1109(f) (2019). We review a trial court’s adjudication “to

       determine whether the findings are supported by clear, cogent and convincing

       evidence and the findings support the conclusions of law.” In re Montgomery, 311 N.C.

       at 111, 316 S.E.2d at 253 (citing In re Moore, 306 N.C. 394, 404, 293 S.E.2d 127, 133
       (1982)). “Findings of fact not challenged by respondent are deemed supported by

       competent evidence and are binding on appeal.” In re T.N.H., 372 N.C. 403, 407, 831

       S.E.2d 54, 58 (2019) (citing Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729,

       731 (1991)).

¶9           Section 7B-1111 provides, in pertinent part, that “[t]he court may terminate

       the parental rights upon a finding . . . [that] [t]he parent has . . . aided, abetted,

       attempted, conspired, or solicited to commit murder or voluntary manslaughter of the

       child, another child of the parent, or other child residing in the home.” N.C.G.S.

       § 7B-1111(a)(8) (2019). Absent a prior conviction of a qualifying offense, the petitioner

       must “prov[e] the elements of the offense” to satisfy its burden to show that a parent’s

       rights should be terminated under subsection 7B-1111(a)(8). Id.

¶ 10         Here, though respondent mother was convicted of both intentional and

       negligent child abuse, she was not convicted of second-degree murder. Therefore, the

       petitioner must prove the elements of either aiding and abetting, attempt, conspiracy,

       or solicitation of second-degree murder to satisfy its burden here.
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¶ 11         Aiding and abetting occurs when (1) “the crime was committed by some other

       person;” (2) “the defendant knowingly advised, instigated, encouraged, procured, or

       aided the other person to commit that crime;” and (3) “the defendant’s actions or

       statements caused or contributed to the commission of the crime by that other

       person.” State v. Goode, 350 N.C. 247, 260, 512 S.E.2d 414, 422 (1999) (citation

       omitted).

¶ 12         With respect to the second element, “[t]he communication or intent to aid does

       not have to be shown by express words of the defendant but may be inferred from his

       actions and from his relation to the actual perpetrators.” Id. at 260, 512 S.E.2d at

       422. Generally an individual’s failure to intervene does not make him guilty of aiding

       and abetting. See State v. Walden, 306 N.C. 466, 472, 293 S.E.2d 780, 784–85 (1982)

       (citing State v. Birchfield, 235 N.C. 410, 413, 70 S.E.2d 5, 7 (1952)). Parents, however,

       “have an affirmative legal duty to protect and provide for their minor children.” Id.

       at 473, 293 S.E.2d at 785 (citations omitted). As such, parents must “take every step

       reasonably possible under the circumstances of a given situation to prevent harm to

       their children.” Id. at 475, 293 S.E.2d at 786. Therefore, when a parent has actual

       knowledge of harm to his or her child and fails to reasonably protect the child from

       harm, that parent has knowingly aided the perpetrator’s commission of the harm. See
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       id. at 473–76, 293 S.E.2d at 785. The reasonableness of a parent’s response, however,

       must be determined on a case-by-case basis. Id. at 475–76, 293 S.E.2d at 786.3

¶ 13         Here the first element of aiding and abetting is clearly met because Lail was

       convicted of second-degree murder in the death of respondent’s older son, John.

¶ 14         As for the second element, the trial court’s order and the record support the

       finding that respondent “knowingly advised, instigated, encouraged, procured, or

       aided” Lail’s murder of respondent’s son, John. Goode, 350 N.C. at 260, 512 S.E.2d at

       422. The trial court stated:

                    The Court finds that the Respondent mother, though not
                    present in the home when [John] was killed, knew or
                    should have known of the extreme risk posed by Mr. Lail
                    and took no steps to prevent the injury of both children,
                    [Kate] and [John]; and the death of [John]. The Court finds
                    that the actions, omissions and decisions of the Respondent
                    mother created the opportunity for Mr. Lail to commit the
                    murder of [John] and were tantamount to consent to the
                    conduct of Mr. Lail which resulted in the death of [John],
                    for which he was convicted of Second Degree Murder.

¶ 15         Because aiding and abetting requires knowledge, the trial court’s statement

       that respondent “should have known” of the risk presented here is an inaccurate

       statement of the law and should be disregarded. Nevertheless, when read in context,




             3 Respondent argues that Walden is no longer authoritative given the legislature’s

       enactment of N.C.G.S. § 14-5.2 (2019), which abolished all distinctions between accessories
       before the fact and principals to a crime. The statutory change, however, has no bearing on
       the general principle in Walden that parents may have a duty to intervene to protect their
       children.
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the entire finding shows that the trial court concluded that respondent possessed the

actual knowledge required to aid and abet Lail in murdering John. John’s presumed

cause of death was determined as “drowning with significant contributory factor of

burns and blunt force injuries.” Respondent’s testimony at the trial court hearing and

the findings from Kate’s adjudication order, which are incorporated in the trial court’s

order here, consistently show that respondent knew that her children suffered severe

abuse and saw the bruises and burns on John, yet intentionally concealed the

injuries. Specifically, respondent had “seen William Lail become increasingly

aggressive over the last several months prior to [John’s] death,” “had seen [Lail] hit

the minor children with a double-looped belt,” “had seen him hit both children on

their buttocks with an open hand,” “often came home from work to find bruises on

her children,” and, on the morning of John’s death, “saw unexplained linear bruising

to [John’s] back.” Rather than protecting John, respondent deliberately isolated John

to conceal his injuries. This concealment was a significant contributory factor in

John’s death. Respondent refused to take John to the doctor and even cancelled a visit

with her parents to avoid medical intervention or DSS involvement. Based upon

respondent’s conduct, the trial court found that respondent’s “actions, omissions and

decisions . . . created the opportunity for Mr. Lail to commit the murder of [John] and

were tantamount to consent to the conduct of Mr. Lail which resulted in the death of

[John].”
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¶ 16         Moreover, the trial court found that respondent also took part in the abuse.

       She and Lail both struck John and Kate “with objects including but not limited to a

       belt and a coat hanger,” and respondent was convicted of intentional and negligent

       child abuse. Respondent’s actions demonstrate that she knew of harm to her children,

       participated in the abuse, and failed to reasonably protect John and Kate. As such,

       the trial court correctly determined that respondent knowingly aided Lail in

       committing second-degree murder.

¶ 17         As for the third element, respondent’s actions contributed to Lail’s murdering

       John. Had respondent reasonably protected her children or refrained from concealing

       John’s injuries, Lail would not have had the opportunity to murder John. Instead of

       seeking help for John, however, respondent prioritized concealing John’s injuries to

       protect herself. Respondent “continued to leave her children in the sole care of

       William Lail, including on the day of [John’s] death, even after observing their

       scalding injuries, patterned bruising on their bodies, and Lail’s increasing

       aggression.” Respondent’s actions, combined with all the facts recounted above,

       contributed to Lail’s murder of John.
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¶ 18         Because the elements of aiding and abetting are met in this case, the trial court

       appropriately terminated respondent’s parental rights based upon N.C.G.S.

       § 7B-1111(a)(8).4

¶ 19         Respondent next argues that if this Court reverses the trial court’s termination

       orders, the Court must also vacate the underlying neglect order ceasing her

       reunification with Charlie. Because we hold that the trial court did not err in

       terminating respondent’s parental rights, however, we conclude that the trial court

       did not err in ceasing respondent’s reunification with Charlie.

¶ 20         Thus, the trial court here properly terminated respondent’s parental rights

       and ceased reunification efforts. Accordingly, the trial court’s orders are affirmed.

             AFFIRMED.




             4 Respondent also argues that the trial court erred in concluding that respondent

       solicited, conspired, or attempted to murder John. Because we have concluded that the trial
       court properly determined that respondent aided and abetted Lail in the murder of John, we
       need not reach these alternate grounds for terminating her rights under N.C.G.S.
       § 7B-1111(a)(8).
              Justice ERVIN dissenting.


¶ 21          Although I agree with my colleagues that the record in this case provides more

       than sufficient support for a conclusion that respondent-mother aided and abetted

       Mr. Lail in murdering John, I am unable to join the Court’s conclusion that the trial

       court’s findings and conclusions, as written, suffice to permit an affirmance of the

       trial court’s order. For that reason, rather than affirming the trial court’s termination

       order on the basis set out in the Court’s opinion, I would vacate the trial court’s order

       and remand this case to District Court, Catawba County, for further proceedings,

       including the entry of a new order containing properly drafted findings of fact. As a

       result, I respectfully dissent.

¶ 22          As the parties to this case acknowledge, “[a] person is guilty of a crime by

       aiding and abetting if (i) the crime was committed by some other person; (ii) the

       defendant knowingly advised, instigated, encouraged, procured, or aided the other

       person to commit that crime; and (iii) the defendant’s actions or statements caused

       or contributed to the commission of the crime by that other person.” State v. Goode,

       350 N.C. 247, 260 (1999); see also State v. Dick, 370 N.C. 305, 311 (2017). Although

       the necessary knowledge may be established by “circumstantial evidence from which

       an inference of knowledge might reasonably be drawn,” State v. Boone, 310 N.C. 284,

       294–95 (1984), superseded on other grounds by statute, as recognized in State v. Oates,

       366 N.C. 264, 267 (2012), a person does not act “knowingly” in the event that, rather

       than having actual knowledge of the fact in question, he or she reasonably should
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                                           Ervin, J., dissenting



       have had the required knowledge. State v. Miller, 212 N.C. 361, 363 (1937) (stating

       that “[k]nowledge connotes a more certain and definite mental attitude than

       reasonable belief,” with the extent to which “knowledge [ ] implied from the

       circumstances [being] sufficient to establish reasonable belief [is] a question for the

       jury”), superseded by statute in 1975 N.C. Sess. L. c 165, s. 1, as recognized in State v.

       Fearing, 304 N.C. 471, 478 n.3 (1981). Thus, in order to find the existence of the

       ground for termination enunciated in N.C.G.S. § 7B-1111(a)(8) (allowing the

       termination of parental rights in the event that the parent “has . . . aided, abetted,

       attempted, conspired, or solicited to commit murder or voluntary manslaughter of the

       child, another child of the parent, or other child residing in the home”), the trial court

       was required to find that respondent-mother had actual knowledge of the risk that

       Mr. Lail posed to John. As a result, the trial court erred by finding that respondent-

       mother’s parental rights in Charlie were subject to termination pursuant to N.C.G.S.

       § 7B-1111(a)(8) on an aiding and abetting theory based upon a finding that, although

       “not present in the home when [John] was killed, [she] knew or should have known

       of the extreme risk posed by Mr. Lail and took no steps to prevent the injury of both

       children.”

¶ 23         Although my colleagues acknowledge that “the trial court’s statements that

       [respondent-mother] ‘should have known’ of the risk presented here is an inaccurate

       statement of law and should be disregarded,” they overlook this error on the grounds
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                                   Ervin, J., dissenting



that, “when read in context, the entire finding shows that the trial court concluded

that respondent possessed the actual knowledge required to aid and abet [Mr. Lail]

in murdering John.” In reaching this conclusion, my colleagues point to the fact that

John died as the result of drowning, that respondent-mother knew of the abuse that

Mr. Lail had inflicted upon John while intentionally concealing the injuries that John

had sustained, and that she had inflicted abuse upon both John and Kate. The Court

has not, however, directed our attention to any direct or explicit statement by the

trial court that respondent-mother had actual knowledge of the risks that Mr. Lail’s

conduct posed to John, with the remaining findings that the trial court actually made

being consistent with both a view that respondent-mother actually knew of the

relevant risks and a view that respondent-mother simply should have known of them.

For that reason, I cannot conclude that the trial court did not decide that respondent-

mother’s parental rights in Charlie were subject to termination pursuant to N.C.G.S.

§ 7B-1111(a)(8) on the basis of a misunderstanding of the applicable law. Helms v.

Rea, 282 N.C. 610, 620 (1973) (stating that “[i]t is still the rule that ‘[f]acts found

under misapprehension of the law will be set aside on the theory that the evidence

should be considered in its true legal light’ ” (quoting McGill v. Town of Lumberton,

215 N.C. 752, 754 (1939))). In light of that determination, I am unable to see how the

relevant portion of the trial court’s order can withstand this aspect of respondent-

mother’s challenge to its legal validity.
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                                         Ervin, J., dissenting



¶ 24         I fully agree, on the other hand, that the record, including those portions upon

       which my colleagues rely, would have permitted the trial court to find the actual

       knowledge necessary to determine that respondent-mother’s parental rights in

       Charlie were subject to termination pursuant to N.C.G.S. § 7B-1111(a)(8) on the

       grounds that she aided and abetted Mr. Lail in murdering John. However, given the

       fact that the trial court never found the necessary actual knowledge and that this

       Court lacks the authority to make the required finding based upon an examination

       of a cold record, I cannot conclude that the trial court did not err in the course of

       determining that respondent-mother’s parental rights in Charlie were subject to

       termination pursuant to N.C.G.S. § 7B-1111(a)(8) on the grounds that respondent-

       mother aided and abetted Mr. Lail in murdering John. Hard cases, once again, seem

       to me to be making bad law.

¶ 25         The proper manner in which to rectify the trial court’s error is readily

       apparent. Instead of affirming the challenged trial court order, I believe that we

       should vacate the trial court’s termination order and remand this case to District

       Court, Catawba County, for the entry of a new order containing appropriate findings

       of fact and conclusions of law. In the event that my colleagues are correct in thinking

       that the inclusion of the trial court’s reference to what respondent-mother “should

       have known” did not reflect what the trial court actually meant, then the trial court

       can quickly confirm that understanding by entering a new termination order that
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                                          Ervin, J., dissenting



       finds the facts and makes legal conclusions on the basis of the existing record and a

       proper understanding of the applicable law. On the other hand, if the trial court did,

       in fact, mean to find that respondent-mother acted on the basis of something other

       than the required actual knowledge, it can take other appropriate action as well. In

       failing to act in this manner on the basis of the logic that the Court deems persuasive,

       we risk creating a precedent that allows this Court to draw inferences on appeal that

       the trial court did not, for whatever reason, draw, placing us in the position of a fact-

       finder despite the known limitations on the ability of appellate courts to act in that

       capacity.

¶ 26         My inability to join my colleagues in taking the analytical leap that they deem

       to be appropriate may seem excessively formalistic in light of the horrific facts that

       are before us in the case. I certainly understand the strength of the temptation to

       overlook the insufficiency of the trial court’s findings in order to eliminate any

       conceivable risk that Charlie would be returned to respondent-mother’s care. In other

       words, “[t]he very sordidness of the evidence strongly tempts us to say that justice

       and law are not always synonymous [ ] and to vote for an affirmance of the judgment

       . . . on the theory that justice has triumphed, however much law may have suffered.”

       State v. Bridges, 231 N.C. 163, 166 (1949) (Ervin, J., dissenting). Although “[i]t might

       well be that [a remand for additional findings] would result” in the entry of another

       order terminating respondent-mother’s parental rights in Charlie pursuant to
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                                      Ervin, J., dissenting



N.C.G.S. § 7B-1111(a)(8) on the basis of the theory that she aided and abetted Mr.

Lail’s homicidal conduct, “[t]hat possibility should not shape our action” given that

“what happens to the law in this case is of the gravest moment,” that our decision to

make a finding concerning the critical issue of knowledge “will be invoked in other [ ]

trials as a guiding and binding precedent,” and that “[t]he preservation unimpaired

of our basic rules of [ ] procedure is an end far more desirable than that of” ensuring

that this case comes to an end now. Id. at 171. As a result, while “[c]andor compels

the confession that it is not altogether easy to hearken to” respondent-mother’s

arguments in this matter, id. at 166, I would, rather than affirming the trial court’s

order with respect to the issue of whether respondent-mother’s parental rights in

Charlie are subject to termination pursuant to N.C.G.S. § 7B-1111(a)(8) on the basis

of an aiding and abetting theory, vacate the trial court’s order and remand this case

to District Court, Catawba County, for further proceedings not inconsistent with this

opinion, including the entry of a new order containing findings of fact and conclusions

of law that are based upon a proper understanding of the applicable law.1

       Justice EARLS joins in this dissenting opinion.




       1 As my colleagues have noted, the trial court also found that respondent-mother’s

parental rights in Charlie were subject to termination pursuant to N.C.G.S. § 7B-1111(a)(8)
on the basis of a determination that respondent-mother solicited, conspired, or attempted to
murder John. In view of the fact that the Court has not addressed the validity of the trial
court’s findings and conclusions with respect to any of those legal theories, I will refrain from
addressing them as well.
